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IN THE U'NITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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FEDERAL EXPRESS CORPORATION,

Plaintiff,

ACCU- SORT SYSTEMS , INC . ,

Defendant.

ROBEHT R.Di T'|O
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W.D. OF TN, MI:`MPH|S

Civil No. 01-2503 Ma/P

 

ORDER GRANTING ACCU-SORT SYSTEMS, INC.’S MOTION TO

MODIFY STIPULATED PROTECTIVE ORDER AND COMPEL

RESPONSES FROM PLAINTIFF IN DEPOSITION CONDUCTED PURSUANT
TO RULE 30(b) (6) AND REQUEST FOR EXPEDITED HEARING

 

Before the court is Accu-Sort Systems, Inc.’s Motion to Modify

Stipulated Protective Order and Compel Responses from Plaintiff in
Deposition Conducted Pursuant to Rule 30(b)(6), filed.April 4, 2005
(dkt #515). On April 19, 2005, plaintiff Federal Express (“Fed
Ex”) filed its response. On April 22, 2005, the court held a
hearing on the motion. Counsel for all parties, including counsel
for non-party United Parcel Service (“UPS”), were present and
heard. At the hearing, the court concluded that, although Accu-
Sort could have and should have filed the motion in a more timely
manner, the motion was well-taken and should be granted. The

court ordered as follows:

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l. Counsel for Fed Ex shall provide Accu-Sort and UPS with
(l) a list of AEO documents that Fed Ex intends to show its Rule
30(b)(6) designee(s) in preparation for his or her deposition; and
(2) an affidavit setting forth the identity' and. position the
designee(s) holds within Fed,Ex, including what if any relationship
the designee may have with the "business component" of Fed Ex. It
is expected that the designee(s} will be someone who holds a
technical (as opposed to business) position within Fed Ex. These
lists shall be provided to Accu-Sort and UPS by no later than May
4, 2005.

2. By no later than May ll, 2005, Accu-Sort and UPS shall
review the AEO documents identified by Fed Ex and immediately
inform Fed EX what, if any, objections they may have to allowing
Fed Ex's designee(s) to review the AEO documents.

3. The Rule 30(b)(6) deposition shall be completed by May
20, 2005. Any objections made by Accu-Sort and UPS shall

immediately be brought to the attention of this Magistrate Judge.

T:T>€ll

TU M. PHAM
United States Magistrate Judge

IT IS SO ORDERED.

 

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Honorable Samuel Mays
US DISTRICT COURT

